Case: 1:21-cr-00228 Document #: 1 Filed: 04/14/21 Page 1 of 12 PagelD #:1

AO 91 (Rev. 11/11) Criminal Complaint ADS 7 A Yii94. AUSA Albert Berry III (312) 886-7855
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT-OF HaLINOIS) ya) pez

 

   

EAS -BIYESIOND STRICT COURT
UNITED STATES OF AMERICA
CASE NUMBER:
” 21 CR 228
KALIL WARNER
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about January 25, 2021, at Chicago, in the Northern District of Illinois, Eastern Division, the

defendant violated:

Code Section Offense Description

Title 18, United States Code, Section did knowingly transfer and possess a machinegun as

922(0)(1) it is defined in Title 26, United States Code, Section
5845(b)

This criminal complaint is based upon these facts:

X_ Continued on the attached sheet.

foe Mer

THOMAS SPRATTE
Special Agent, Bureau of Alcphol, Tobacco,
Firearms & Explosives (ATF)

Pursuant to Fed. R. Crim. P. 4.1, this Complaint is presented by reliable electronic m¢ans. The above-

named agent provided a sworn statement attesting to ny of the mee NER vit by telephone.
Date: April 14, 2021 Ws

Judge’s aN
City and state: Chicago, Illinois MARIA VALDEZ, U.S. Magistrate Judge
Printed name and title

 
Case: 1:21-cr-00228 Document #: 1 Filed: 04/14/21 Page 2 of 12 PagelD #:2

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
AFFIDAVIT

I, THOMAS SPRATTE, being duly sworn, state as follows:

1. I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms &
Explosives (‘ATF”), and have been so employed since August 2019. Prior to becoming
a Special Agent with ATF, I was a law enforcement officer with the Blue Island and
Chicago Police Department for eight years. My current responsibilities include the
investigation of firearms offenses.

2. This affidavit is submitted in support of a criminal complaint alleging
that KALIL WARNER has violated Title 18, United States Code, Section 922(0)(1).
Because this affidavit is being submitted for the limited purpose of establishing
probable cause in support of a criminal complaint charging WARNER with knowing
transfer or possession of a machinegun, I have not included each and every fact
known to me concerning this investigation. I have set forth only the facts that I
believe are necessary to establish probable cause to believe that the defendant
committed the offense alleged in the complaint.

3. This affidavit is based on my personal knowledge, information provided
to me by other law enforcement agents, and my review of pertinent documents and

recordings.
Case: 1:21-cr-00228 Document #: 1 Filed: 04/14/21 Page 3 of 12 PagelD #:3

I. APPLICABLE LAW

4. Title 18, United States Code, Section 922(0) makes it “unlawful for any
person to transfer or possess a machinegun,” and section 921(a)(23) states that “the
term “machinegun” has the meaning given such term in section 5845(b) of the
National Firearms Act (26 U.S.C. § 5845(b)).”

5. Title 26, United States Code, Section 5845(b) defines a “machinegun” as
“any weapon which shoots ... automatically more than one shot ... by a single function
of the trigger.” The definition further includes “any part designed and intended solely
and exclusively, or combination of parts designed and intended, for use in converting
a weapon into a machinegun.”

6. Based upon my training and experience and the training and experience
of other agents with whom I have consulted, I am aware of conversion devices that
have been designed and created for the sole purpose of converting semiautomatic
Glock pistols into fully automatic machineguns. These devices vary by design and
appearance, but all, when properly installed on a semiautomatic Glock pistol, will
allow the firearm to expel more than one projectile by a single pull of the trigger.
Installation of these Glock Conversion Devices usually requires no technical expertise
and is completed by removing the polymer slide cover plate on a Glock semiautomatic
pistol and replacing it with a Glock Conversion Device. I also know that these devices

are referred to by different names, including but not limited to, “Glock switches,”

” 6c ” “ ” “

“auto sears,” “convertors,” “conversion switches,” “selector switches,” or simply

“switches.” The Glock Conversion Device is a prohibited item under the National
Case: 1:21-cr-00228 Document #: 1 Filed: 04/14/21 Page 4 of 12 PagelD #:4

Firearms Act, 26 U.S.C. § 5845(b), because it is “any part designed and intended
solely and exclusively, or combination of parts designed and intended, for use in
converting a weapon into a machinegun.”
Il. FACTS SUPPORTING PROBABLE CAUSE

7. As set forth more fully below, since in or around January 2021, by and
through an undercover officer, ATF has purchased 32 Glock Conversion Devices from
KALIL WARNER and, on one occasion from a co-conspirator (“CC-1”) on behalf of
KALIL WARNER.
The January 25, 2021 Controlled Purchase

8. On January 22, 2021, a confidential source (“CS”) introduced an
undercover agent (“UCA”) to WARNER.! On that date, at the direction of the ATF,
the CS purchased a Glock Conversion Device from WARNER for $300. The UCA
accompanied the CS to that purchase and observed it.

9, On or about January 25, 2021, the CS provided the UCA with a phone
number for WARNER: (312) XXX-7007 (“the 7007 number”). On or about January 25,
2021, the UCA sent a text message to the 7007 number requesting information about

the purchase of “Glock switches.” During the text message exchange, WARNER

 

1 The CS has provided law enforcement with reliable information since January of 2019. The
CS was signed up through ATF as an informant from January 2019 through deactivation in
December 2019. The CS was reactivated in February 2020 and has been active to date. Prior
information provided by the CS has been corroborated by seizures of firearms, recorded
conversations, and controlled purchases of firearms. To date, ATF has paid the CS a total of
approximately $1,800.

Following the January 22, 2021 transaction, law enforcement showed the CS and the UCA a
known photograph of WARNER and both the CS and the UCA identified WARNER as the
individual that sold him the Glock Conversion Device on January 22, 2021.
Case: 1:21-cr-00228 Document #: 1 Filed: 04/14/21 Page 5 of 12 PagelD #:5

agreed to meet the UCA at 5:30 p.m. in a grocery store parking lot located on N. Des
Plaines Street in Chicago to sell the UCA ten “Glock switches.”2 Later in the day, the
UCA texted WARNER “At the spot [the grocery store parking lot].”"3 WARNER
responded, “Ight bet give me 5 mins [OK. I'll be there in 5 minutes].” The UCA replied
“Coo [OK].” WARNER then sent a text message “Pullin up [Pulling up in my car].”
10. According to UCA, and as confirmed by the audio/video recording, at
approximately 5:43 p.m., WARNER parked his vehicle, a red Saturn, in the grocery
store parking lot close to the UCA’s vehicle. The UCA observed WARNER turn the
light on in his vehicle then retrieve a clear plastic bag from the center console. At
approximately 5:46 p.m. WARNER exited his vehicle and got into the passenger seat
of the UCA’s vehicle. WARNER retrieved multiple clear plastic bags from the front
pocket of his sweatshirt, handed the UCA a balled-up piece of paper containing
several small metal pins, and gave the UCA a clear plastic bag with what appeared
to be plastic components. WARNER told the UCA that the bag should contain eleven
total switches and that he “had thrown in an extra switch for free.” After the UCA
inspected the bag and its contents, he handed WARNER $2,500 of pre-recorded ATF

funds for the Glock Conversion Devices. The UCA asked WARNER about the

 

2 Law enforcement has identified WARNER as the user of the phone number ending in 7007
based on the following: (1) WARNER is the listed subscriber for the phone number ending in
7007; (2) The UCA, who had previously spoken to WARNER in person, recognized the voice
answering the phone ending in 7007 as WARNER; and (8) after texts with the phone number
ending in 7007 selecting places to meet, WARNER appeared to make the transactions.

3 My understanding and/or interpretation of text messages, which is contained in the
brackets, is based on information received from law enforcement personnel, my knowledge
derived from this investigation, and my experience and familiarity with gun trafficking.
Case: 1:21-cr-00228 Document #: 1 Filed: 04/14/21 Page 6 of 12 PagelD #:6

possibility of future purchases. WARNER replied that he had an additional 50
switches. The UCA told WARNER that the UCA was willing to purchase the rest.
WARNER told the UCA that WARNER received switches “every few days.” The UCA
asked if WARNER could save the remaining switches so that the UCA would
purchase them two days later. WARNER told the UCA, “Yeah, I’m gonna get some
more just hit me.” WARNER then exited the UCA’s vehicle and returned to his
vehicle.

11. On January 28, 2021, the devices purchased on January 22 (one white
Glock Conversion Device) and January 25 (parts for eleven black Glock Conversion
Devices) were examined and tested by personnel at ATF’s Firearm Technology
Criminal Branch in Martinsburg, West Virginia. According to the reports, when the
white Glock Conversion Device was installed on a Glock semiautomatic firearm, it
caused the firearm to fire more than one round after a single pull of the trigger.
According to the same report, the eleven black Glock Conversion Devices consisted of
several parts (12 back plates, eleven selectors, and eleven “legs”). According to the
reports, when four of the black Glock Conversion Device were assembled and installed
on a Glock semiautomatic firearm, they did not cause the firearm to fire more than
one round after a single pull of the trigger because one pull of the trigger caused the
“leg” to sustain damage. However, simply replacing the “leg” with one of higher
quality, would allow the Glock semiautomatic firearm to fire more than one round

after a single pull of the trigger.
Case: 1:21-cr-00228 Document #: 1 Filed: 04/14/21 Page 7 of 12 PagelD #:7

12. The ATF concluded that each of the devices was a machinegun, in that
the devices were designed and intended for use in converting a weapon into a
machinegun.
The January 27, 2021 Controlled Purchase

13. According to the UCA, on or about January 26, 2021, at approximately
7:30 a.m., WARNER texted the UCA from the 7007 number stating, “40 [Glock
switches] left want me to hold em for you or what?” The UCA responded, “ya I come
thru tomorrow if you can lockem down [hold them until I arrive].” At approximately
8:20 a.m., the UCA texted WARNER on the 7007 number and stated, “Yo you try
these out bro? [have you tested the Glock switches].” WARNER replied, “Always
what’s the problem?” The UCA responded, “It hit full auto or what? [Do they switch
a semiautomatic to fully automatic?] That white one straight but the black aint hittin
[The white one works but the black ones do not work.].”* WARNER responded, “Yea
you clicked it over” and “The tube, switch button should be the last part that goes in
[instructing the UCA how to assemble the Glock switches].” The UCA asked
WARNER, “Whats the ticket on 40? [How much for 40 Glock switches].” WARNER
responded, “10k [$10,000]”. The UCA asked, “We good for tomorrow but trying to slide
around 2bro tryin get back north before traffic [Are we still on for tomorrow around

2:00 p.m. I want to get back north before there is too much traffic.].” and “Wtw [What’s

 

4 On January 22, 2021, WARNER sold the UCA one white switch and on January 25, 2021,
WARNER sold the UCA 11 black switches.
Case: 1:21-cr-00228 Document #: 1 Filed: 04/14/21 Page 8 of 12 PagelD #:8

the word] bro we locked in? [Are we still on for tomorrow?]” WARNER replied, “yea
ima call you”.

14. On January 27, 2021 (the next day), at approximately 10:13 a.m.,
WARNER called the UCA from the 7007 number, and, during the call, WARNER
agreed to meet the UCA later that day at the same grocery store parking lot 2:00 p.m.
to sell the UCA the Glock Conversion Devices. On the call, the UCA and WARNER
discussed the price of the “Glock switches.” WARNER stated the price had been raised
to $450 a switch. At approximately 10:55 a.m., WARNER sent a text to the UCA that
stated, “I only got 10 with me today my brother coming from out of town with rest I
can do the 10 for 3,000 and ima let you know when the rest in.” WARNER and the
UCA agreed to meet at the same location as the previous purchase to exchange ten
Glock switches for $3,000.

15. At approximately 2:03 p.m., the UCA sent a message to WARNER on
the 7007 number and advised WARNER that he had arrived. At approximately 2:12
p.m., WARNER arrived driving the same car that he drove to the January 25
transaction and parked in front of the UCA’s vehicle. WARNER exited his vehicle,
walked to the passenger side of the UCA’s vehicle, and got into the front seat.
According to the UCA, and as confirmed by the audio/video recording, once inside the
UCA’s vehicle, WARNER retrieved a white plastic bag from his pocket and handed it
to the UCA. The UCA placed the bag on the center console and inspected the contents.
According to the UCA, the bag contained the components to assemble conversion

switches. The UCA inspected the pieces and noticed that the metal pins were missing.
Case: 1:21-cr-00228 Document #: 1 Filed: 04/14/21 Page 9 of 12 PagelD #:9

When the UCA asked WARNER about the missing metal pins, WARNER told the
UCA that he wouldn’t have the pins until the following day. WARNER stated words
to the effect of, “You don’t need the pin to do it.” WARNER further stated words to
the effect of, “It goes in with the Glock and the sear.”

16. At approximately 2:15 p.m., WARNER exited the UCA’s vehicle,
returned to his vehicle, retrieved an unknown item from inside of his vehicle, and
returned to the UCA’s vehicle. Once inside the UCA’s vehicle, WARNER handed the
UCA a fully assembled Glock Conversion Device. The UCA inspected the device and
told WARNER he was willing to purchase all the switches for “two stacks [$2,000]”
and WARNER agreed. The UCA handed WARNER $2,000 in pre-recorded ATF funds.
The UCA asked WARNER if WARNER had more switches. WARNER told the UCA
“We got 40 coming in Friday or Saturday.” The UCA told WARNER he would try the
switches without the pin. WARNER stated, “I know for a fact because my cousin just
did it yesterday.” The UCA asked WARNER how the switches operated when he tried
them. WARNER told the UCA, “I just get them, then give them to other people.”
WARNER further stated, “My brother shot a whole clip out [(WARNER’s brother fired
fully loaded magazine through a firearm with a mounted conversion switch].”
WARNER told the UCA that his brother would be back this weekend and could
further explain the operability of the conversion switches to the UCA.

The February 8, 2021 Controlled Purchase with Co-conspirator

17. On February 2, 2021, the UCA contacted WARNER on the 7007 number

and arranged a February 3, 2021 purchase of twelve Glock Conversion Devices for
Case: 1:21-cr-00228 Document #: 1 Filed: 04/14/21 Page 10 of 12 PagelD #:10

$2,000 at the same grocery store parking lot location where the UCA and WARNER
previously met.

18. According to the UCA, on February 3, 2021, at approximately 1:57 p.m.,
the UCA sent a message to WARNER on the 7007 number and advised WARNER
that the UCA had arrived. At approximately 2:00 p.m., WARNER responded, “ok.” At
approximately 2:08 p.m., the UCA received a text message from WARNER stating,
“finna have my bro pull up [I’m going to ask my “brother” to go see you].”

19. At approximately 2:05 p.m., surveillance units observed WARNER and
CC-1 exit WARNER’s place of employment. At approximately 2:08 p.m., WARNER
and CC-1 entered a blue Hyundai SUV and drove to the corner of N. Des Plaines and
W. Kinzie where CC-1 exited the vehicle and walked towards the grocery store
parking lot.

20. According to the UCA, and as confirmed by the audio/video recording, at
approximately the same time law enforcement observed CC-1 walking towards the
parking lot, the UCA received a call from 773-XXX-2578 asking the UCA where the
UCA was parked. CC-1 then approached the UCA’s vehicle and stood outside on the
driver’s side.

21. According to the UCA, and as confirmed by the audio/video recording,
once CC-1 got to the front driver’s side of the UCA’s vehicle, the UCA told CC-1 that
“he [WARNER]” had “12 [conversion switches]” for sale. CC-1 told the UCA that he

only had 10 conversion switches. CC-1 then asked the UCA how much the UCA was

supposed to pay for the switches. The UCA told CC-1 the price was supposed to be
Case: 1:21-cr-00228 Document #: 1 Filed: 04/14/21 Page 11 of 12 PagelD #:11

“two stacks [$2,000].” CC-1 then retrieved a clear plastic bag from his jacket pocket
and handed it to the UCA. The UCA inspected the bag and noticed that there were
only components to fully assemble two conversion switches and pieces for a third.
22. According to the audio/video recording and the UCA, later in the
conversation, CC-1 asked the UCA how much the UCA would pay for the switches.
The UCA informed CC-1 that the UCA would only pay $600 because only two of the
switches would function and because CC-1’s brother (WARNER) owed the UCA from
the last deal. CC-1 agreed and stated that he would relay that to WARNER. The UCA
then handed CC-1 $600 in pre-recorded ATF investigative funds. In exchange, CC-1
gave the UCA various components sufficient to make two full conversion switches.
23. On March 3, 2021, the devices purchased on January 27 and February
3 were examined and tested by personnel at ATF’s Firearm Technology Criminal
Branch in Martinsburg, West Virginia. According to the report, the Glock Conversion
Devices consisted of several parts (13 back plates, eight selectors, and ten “legs”).
According to the reports, when four of the Glock Conversion Device were assembled
and installed on a Glock semiautomatic firearm, it did not cause the firearm to fire
more than one round after a single pull of the trigger because one pull of the trigger
caused the “leg” to sustain damage. However, simply replacing the “leg” with one of
higher quality would allow the Glock semiautomatic firearm to fire more than one

round after a single pull of the trigger.

10
Case: 1:21-cr-00228 Document #: 1 Filed: 04/14/21 Page 12 of 12 PagelD #:12

24. The ATF concluded that each of the devices was a machinegun, in that
the devices were designed and intended for use in converting a weapon into a
machinegun.

II. CONCLUSION

25. Based on the foregoing facts, I respectfully submit there is probable
cause to believe that KALIL WARNER violated Title 18, United States Code, Section
922(0)(1), in that WARNER did knowingly transfer and possess a machinegun as it
is defined in Title 26, United States Code, Section 5845(b), on or about the
aforementioned dates.

FURTHER AFFIANT SAYETH NOT.

THOMAS SPRATTE
Special Agent, Bureau of Alcohol, Tobacco,
Firearms & Explosives

“\ RN TO ONES D by telephone on April 14, 2021.

Hoforable MARIA VALD
United States Magistrate Juige

11
